
14 Ill. App.3d 290 (1973)
302 N.E.2d 425
THE PEOPLE OF THE STATE OF ILLINOIS, Respondent-Appellee,
v.
WILLIE RUTLEDGE, Petitioner-Appellant.
No. 56941.
Illinois Appellate Court  First District (2nd Division).
August 14, 1973.
Richard E. Gorman, of Chicago, for appellant.
Bernard Carey, State's Attorney, of Chicago, (Elmer C. Kissane, William D. Wolter, and Bernard S. Armel, Assistant State's Attorneys, of counsel,) for the People.
Abstract of Decision.
Judgment affirmed.
